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 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     MOISES TORRES
 6   -

 7

 8                               UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-164 TLN
12
                   Plaintiff,
13
     vs.                                              STIPULATION AND ORDER
14                                                    CONTINUING STATUS CONFERENCE
     SECUNDINO ESQUIBEL, and MOISES                   AND EXCLUDING TIME UNDER THE
15                                                    SPEEDY TRIAL ACT
     TORRES,
16
                   Defendants.                        Date:       December 7, 2017
17                                                    Time:       9:30 a.m.
                                                      Court:      Hon. Troy L. Nunley
18

19

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21
            This matter is presently set for a status conference on October 19, 2017. The case
22

23   involves allegations of marijuana manufacturing and depredation of public resources on federal

24   land. The government has provided discovery to defense counsel including written reports,
25   voluminous photographs, and videotapes relating to a large marijuana grow site in Trinity
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     County. The government also has provided plea agreements setting forth the terms of a proposed
27
     ORDER CONTINUING STATUS
28   CONFERENCE
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 1   resolution of the matter as to both remaining defendants.
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            Defense counsel for both Defendants, Attorney Michael Hingle on behalf of Defendant
 3
     Secundino Esquibel, and Attorney Todd D. Leras on behalf of Defendant Moises Torres, desire
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     to conduct additional investigation, including obtaining additional details about the grow site, in
 5

 6   support of defense resolution requests and sentencing recommendations. The grow site is

 7   located near the rural community of Wildwood within the Shasta-Trinity National Forest,
 8
     approximately 185 miles from Sacramento. Investigation of the grow site and potential
 9
     witnesses therefore requires travel of a considerable distance from Sacramento.
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            Both Defendants are therefore requesting to continue the status conference to December 7,
11

12   2017. The Government does not oppose the request.

13          The parties stipulate as follows:
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            1. Defendants now move to vacate the status conference presently set for October 19,
15
                2017. The parties request to continue the status conference to December 7, 2017, at
16
                9:30 a.m., and to exclude time between October 19, 2017 and December 7, 2017,
17

18              under Local Code T-4. The United States does not oppose this request.

19          2. Due to the ongoing review of discovery and defense investigation related to potential
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                resolution of this matter, defense counsel need additional time to prepare.
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            3. Both defense counsel joining in this stipulation represent and believe that failure to
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                grant additional time as requested would deny each of them the reasonable time
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24              necessary for effective preparation, taking into account the exercise of due diligence.

25          4. Based on the above-stated facts, the parties jointly request that the Court find that the
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                ends of justice served by continuing the case as requested outweigh the best interest
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28   CONFERENCE
              Case 2:15-cr-00164-TLN Document 91 Filed 10/18/17 Page 3 of 4


 1              of the public and the Defendants in a trial within the time prescribed by the Speedy
 2
                Trial Act.
 3
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 4
                seq., within which trial must commence, the time period of October 19, 2017 to
 5

 6              December 7, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C. §

 7              3161(h)(7)(A), and (B) (iv) [Local Code T-4] because it results from a continuance
 8
                granted by the Court at Defendants’ request on the basis that the ends of justice
 9
                served by taking such action outweigh the best interest of the public and the
10
                Defendants in a speedy trial.
11

12          6. Nothing in this stipulation and order shall preclude a finding that other provisions of

13              the Speedy Trial Act dictate that additional time periods are excludable from the
14
                period within which a trial must commence.
15
            Assistant U.S. Attorney Ross Naughton and Attorney Michael Hingle have reviewed this
16
     document and authorized Todd Leras to sign it on their behalf.
17

18
     DATED: October 17, 2017
19                                                        By     Todd D. Leras for
                                                                 ROSS NAUGHTON
20
                                                                 Assistant United States Attorney
21   DATED: October 17, 2017
                                                          By     Todd D. Leras for
22                                                               MICHAEL HINGLE
                                                                 Attorney for Defendant
23
                                                                 SECUNDINO ESQUIBEL
24
     DATED: October 17, 2017
25                                                        By     /s/ Todd D. Leras
                                                                 TODD D. LERAS
26
                                                                 Attorney for Defendant
27                                                               MOISES TORRES
     ORDER CONTINUING STATUS
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               Case 2:15-cr-00164-TLN Document 91 Filed 10/18/17 Page 4 of 4


 1                                                ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE
 3
     GOVERNMENT AND DEFENSE COUNSEL FOR BOTH DEFENDANTS, it is hereby
 4
     ordered that the status conference in this matter as to Defendants Secundino Esquibel and Moises
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 6   Torres, scheduled for October 19, 2017, is vacated. A new status conference is scheduled for

 7   December 7, 2017, at 9:30 a.m. The Court further finds, based on the representations of the
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     parties and Defendants’ request, that the ends of justice served by granting the continuance
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     outweigh the best interests of the public and the defendants in a speedy trial. Time shall be
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     excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4, to
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12   allow necessary attorney preparation taking into consideration the exercise of due diligence for

13   the period from October 19, 2017, up to and including December 7, 2017.
14
     DATED: October 17, 2017
15

16

17                                                        Troy L. Nunley
                                                          United States District Judge
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     ORDER CONTINUING STATUS
28   CONFERENCE
